                    Case 19-30696 Document 35 Filed in TXSB on 04/05/19 Page 1 of 2


                                         U nited States Bankruptcy Court
                                               Southern District of Texas
                                                    Houston Division
 In re     Walter E. Woodward                                                    Case No.   19-30696-H4-13
                                                           Debtor(s)             Chapter    13


                                       MOTION FOR AUTHORIZATION
                                      TO SELL EXEMPT REAL PROPERTY

THIS MOTION SEEKS AN ORDER THAT MAY ADVERSELY AFFECT YOU. IF YOU OPPOSE
THE MOTION, YOU SHOULD IMMEDIATELY CONTACT THE MOVING PARTY TO RESOLVE
THE DISPUTE. IF YOU AND THE MOVING PARTY CANNOT AGREE, YOU MUST FILE A
RESPONSE AND SEND A COPY TO THE MOVING PARTY. YOU MUST FILE AND SERVE YOUR
RESPONSE WITHIN TWENTY-ONE (21) DAYS OF THE DATE THIS MOTION WAS SERVED ON
YOU. YOUR RESPONSE MUST STATE WHY THE MOTION SHOULD NOT BE GRANTED. IF
YOU DO NOT FILE A TIMELY RESPONSE, THE RELIEF MAY BE GRANTED WITHOUT
FURTHER NOTICE TO YOU. IF YOU OPPOSE THE MOTION AND HAVE NOT REACHED AN
AGREEMENT, YOU MUST ATTEND THE HEARING. UNLESS THE PARTIES AGREE
OTHERWISE, THE COURT MAY CONSIDER EVIDENCE AT THE HEARING AND MAY DECIDE
THE MOTION AT THE HEARING.

                 REPRESENTED PARTIES SHOULD ACT THROUGH THEIR ATTORNEY.

TO THE HONORABLE UNITED STATES BANKRUPTCY JUDGE:

     COMES NOW, Walter E. Woodward, hereinafter referred to as Debtor in the above-styled and entitled

case and files this Motion for Authorization to Sell Exempt Real Property pursuant to Section 363(f) and in

support thereof would show this Court the following:

1.       This Court has jurisdiction of this matter pursuant to 28 U.S.C. Sections 1334 and 157 and 11 U.S.C.

Sections 363(f) and 1301.

2.       This is a core proceeding under 28 U.S.C. Section 157(b)(2)(N).

3.       This case was commenced by the Debtor filing a voluntary petition under Chapter 13 of the Bankruptcy

Code on February 4, 2019.

4.       The chapter 13 plan has not been confirmed.

5.       Debtor seeks authorization to sell the following exempt real property as described below:

           Lot 18, Block 1, Rancho Verde, Section 1, Harris County, Texas, more commonly referred to as 2131
           Forest Ranch Drive Houston, Texas 77049.


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                Case 19-30696 Document 35 Filed in TXSB on 04/05/19 Page 2 of 2


6.   The above-referenced property is exempt. Upon closing the sales proceeds shall be collected and

paid to the following debts:

     a. Any outstanding ad valorem taxes;

     b. Any creditors who hold valid liens; and

     c. Closing costs and the usual and customary commissions.

7.   Attorney hereby requests a fee in the amount of $0.00 for prosecuting this motion for authorization to

sell exempt real property.

8.   Attorney hereby requests to be reimbursed a fee of $0.00 for the costs incurred to file the motion for

authorization sell exempt real property.

     WHEREFORE, Debtor respectfully requests that upon hearing of the instant Motion, the Court enter an

Order granting authorization to Sell Exempt Real Property, that Debtor have all such other and further relief,

both at law and in equity to which he may be justly entitled.

                                                          Respectfully submitted:
Date April 5, 2019                            Signature   /s/ Emil R. Sargent
                                                          Emil R. Sargent
                                                          TBN: 17648750
                                                          2855 Mangum Road, Suite A-569
                                                          Houston, Texas 77092
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                                                          Attorney for Debtor




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